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                 IN THE UNITED STATES DISTRICT COURT FOR

                  THE DISTRICT OF ALASKA, AT ANCHORAGE

 SHARALYN WRIGHT,
                                                  Case No. 3:16-cv-________________
              Plaintiff,

 v.                                               COMPLAINT

 UNUM GROUP (a Delaware
 Corporation),

              Defendant.


      COMES NOW Plaintiff, Sharalyn Wright, by and through her attorney, and for her
complaint against the Defendant states and alleges as follows:

      1. At all times relevant hereto Plaintiff Sharalyn Wright was a resident of the State
          of Alaska and was an employee of the State of Alaska. As an employee of the
          State of Alaska Ms. Wright elected to have coverage under the State’s
          supplemental benefits system and elected to purchase short term disability
          insurance and long term disability insurance through that system.

      2. Defendant Unum Group is a general business corporation organized under the
          laws of Delaware. Its headquarters, main administrative office and home office,
          principal place of business, and the primary location for its corporate books and
          records, are all at 1 Fountain Square, Chattanooga, Tennessee. Unum Group



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   also has corporate offices at 2211 Congress Street, Portland, Maine, 1 Mercantile
   Street, Worcester, Massachusetts, and 1200 Colonial Life Blvd., Columbia,
   South Carolina. Unum Group is licensed to do business in Alaska and is doing
   business within the District of Alaska. Unum Group acts as an insurance holding
   company under the insurance holding company acts of the various states,
   including Alaska, and under the holding company statutes is the ultimate
   controlling person of Unum Life Insurance Company of America. Prior to
   changing its name to Unum Group in 2007, Unum Group was known as
   UnumProvident Corporation. Before June 30, 1999 and its merger with Unum
   Life Insurance Company, the entity that is now known as Unum Group, and
   which became UnumProvident Corporation, was known as Provident
   Companies, Inc.
3. Unum Group's insurance company subsidiaries sell a variety of insurance
   products, such as disability insurance, long-term care insurance, life insurance,
   employer and employee paid group benefits and related services. Although
   insurance policies are issued by Unum Group's insurance company subsidiaries,
   these subsidiaries have no employees. Employees of Unum Group provide
   services to Unum Group's subsidiaries, including Unum Life Insurance
   Company of America, pursuant to a General Services Agreements. In that
   regard, Unum Group's production activities consist of services provided by its
   employees to its insuring subsidiaries relating to facilities management,
   provision of legal services, internal audit, cash management, financial
   management, actuarial services, product pricing, corporate relations, marketing
   and product support, sales management, product design, underwriting, systems
   management and claims management. The majority of Unum Group's
   production activities occur in Tennessee, Massachusetts, Maine and South
   Carolina.




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4. Pursuant to its agreement(s) with Unum Life Insurance Company of American
   and its other insuring subsidiaries, Unum Group is engaged in the business of
   insurance, performing such activities as the design, marketing, sale,
   underwriting, daily policy administration, and administration of claims arising
   under policies issued by Unum Life Insurance Company of America. Defendant
   Unum Group has represented to third parties that it is the administrator for claims
   arising under policies issued by Unum Life Insurance Company of America and
   other insurers, some of which are, like Unum Life Insurance Company of
   America, subsidiary entities and some of which are outside of its holding
   company structure. Regarding claims it administers for either its subsidiary
   insurers or non-subsidiary insurers, defendant Unum Group uses the same claim
   handling practices and manages claims on an enterprise level.
5. As an entity in fact engaged in the business of insurance and licensed to do
   business within Alaska, Unum Group, and its officers, directors, employees and
   agents are charged with knowledge of the laws of Alaska, more particularly
   those laws pertaining to the business of insurance including statutory, regulatory
   and common law obligations.
6. There is complete diversity between the parties, and as alleged below, the
   amount in controversy exceeds $75,000.00. This Court has subject matter
   jurisdiction over the parties pursuant to 28 U.S.C. § 1332(a)(1).
7. Wright is a 60 year old former legislative aide who had purchased Short Term
   Disability and Long Term Disability Insurance Coverage under a policy of
   insurance issued to the State of Alaska by Unum Life Insurance Company of
   America a subsidiary of Unum Group.
8. Under the Short Term Disability provision of the policy she was entitled to
   benefits if she met the definition of disability under the policy. The policy
   defined disability as being “unable to perform the material and substantial




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   duties of your regular occupation” and “not working in any other occupation.”
   (emphasis in original).
9. Under the Long Term Disability provisions of the policy, Ms. Wright was
   entitled to benefits if after 180 days and due to the same sickness or injury she
   was “unable to perform the duties of any gainful occupation for which you are
   reasonably fitted by education, training or experience.”
10. At the time she became disabled, Ms. Wright’s occupation was that of the chief-
   of-staff of Alaska House of Representative Speaker Mike Chenault.
11. Wright left work in her occupation as chief-of-staff to Mike Chenault on April
   13, 2013 due to a progressively worsening back condition.
12. Wright applied for disability benefits on December 19, 2013, when it became
   obvious that she would not be able to return to work due to her disability.
   Wrights application for disability benefits was supported by her medical records
   and physician’s opinions that she had a disabling back condition that had
   significantly worsened over the years.
13. In a February 17, 2014 letter, Unum Group denied short term disability benefits
   to Wright, claiming that she did not meet the definition of disability under the
   policy. The letter provided that Wright could appeal that decision if she
   disagreed by filing an appeal within 180 days of the denial.
14. Wright requested and was granted an additional 45 days to submit her appeal by
   Unum Group.
15. On September 19, 2014, Wright provided additional evidence to support her
   disability claim including: a vocational rehabilitation report finding her to be
   disabled and additional medical records.
16. On September 29, 2014, Wright provided additional evidence to support her
   disability claim including: a letter from House Speaker Chenault describing how
   her disability prevented her from performing her occupational duties; a letter
   from her doctor confirming objective evidence of chronic back problems and



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   advising that an additional back surgery had recently occurred, and other
   supportive medical records which documented a long history of back problems
   and extensive treatment and interventions including physical therapy,
   medication, injections, nerve stimulation devices and surgeries.
17. Wright has remained disabled under the terms of the policy from the time she
   ceased working for House Speaker Chenault in April 2013 through the present.
18. On December 18, 2014, despite abundant evidence supporting Wright’s claim
   of disability having been provided, Unum Group denied her appeal of her denial
   of Short Term Disability benefits. Unum Group claimed, without investigation
   and contrary to the evidence before it, that Wright had left employment not
   because of disability. On this basis, Unum Group determined that any coverage
   under the long term disability provisions of the policy was unavailable.
   Accordingly, on December 18, 2014, Unum Group denied Wright’s claim for
   both short term disability and long term disability benefits.
19. By denying coverage for Short Term Disability and by ruling that her
   employment ended for reasons other than disability and therefore that she did
   not qualify for Long Term Disability coverage, Unum Group was able to deny
   coverage and release or avoid posting reserves for Wright’s long term disability.
20. Under the terms of the policy, had Wright qualified for Long Term Disability
   Benefits her coverage would have continued until she reached age 65.
21. Unum Group’s denial of benefits for Short Term Disability and Long Term
   Disability was contrary to the terms of the insurance coverage and not supported
   by evidence in the claim file.
22. The denial of Wright’s benefits under the short term disability and long term
   disability provisions of the policy was the result of Unum Group’s failure to
   properly investigate and evaluate her claim.
23. The conduct of Unum Group in its handling of Wright’s claim intentionally,
   recklessly, and/or negligently breached the duty of reasonable care individuals



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          and entities involved in the handling of insurance claim owe to claim making
          policyholders under Alaska law.
      24. As a direct and proximate result of Unum Group’s breach of the duty of
          reasonable care in claims handling, Wright suffered harm including the loss of
          benefits and emotional distress resulting from the improper denial of benefits
          due her under the policy.

Wherefore, Wright seeks the following relief:

      1. An award of past due benefits for short term disability and long term disability
          in an amount to be determined at trial;
      2. An award of future long term disability benefits according to proof between trial
          and age 65 as a result of Unum Group’s tortious conduct breach of the duty of
          reasonable care it owed Wright as it investigated and evaluated her claim;
      3. An award of punitive damages to the extent permitted under the facts and law
          applicable to this matter; and.
      4. Costs, interest and attorney fees as provided by law.

      DATED this 16th day of February, 2016.

                                            FLANIGAN & BATAILLE
                                            ATTORNEYS FOR SHARALYN WRIGHT

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